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 5                                                     The Honorable RICARDO S. MARTINEZ
 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8   VETERANS FOR PEACE GREATER                        NO. C09-1032 RSM
     SEATTLE, CHAPTER 92, et al.,
 9                                                     STIPULATION FOR DISMISSAL
                              Plaintiffs,              OF COMPLAINT AGAINST
10                                                     WASHINGTON STATE
            v.                                         DEPARTMENT OF
11                                                     TRANSPORTATION AND
     CITY OF SEATTLE, et al.,                          PAULA J. HAMMOND,
12                                                     SECRETARY OF WSDOT
                              Defendants.
13
            In accordance with FRCP 41(a)(1)(A)(ii), it is hereby stipulated and agreed by and
14
     between the undersigned attorney for plaintiffs and the undersigned attorney for defendants
15
     Washington State Department of Transportation and Paula J. Hammond that the
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     above-entitled action is discontinued and the complaint dismissed with prejudice as to
17
     defendants Washington State Department of Transportation and Paula J. Hammond.
18
                                                I.JUSTICE LAW PC
19

20   Dated: October 8, 2010                     /s/ Robert J. Siegel (per email authorization)
                                                Robert J. Siegel, WSBA No. 17312
21                                              Attorney for Plaintiffs
22                                              ROBERT M. MCKENNA
                                                Attorney General
23

24   Dated: October 8, 2010                     /s/ Bryce E. Brown
                                                BRYCE E. BROWN, WSBA No. 21230
25                                              Senior Assistant Attorney General
                                                Attorneys for Defendants WSDOT and
26                                              Paula J. Hammond

      STIPULATION FOR DISMISSAL OF                 1                ATTORNEY GENERAL OF WASHINGTON
                                                                    Transportation & Public Construction Division
      COMPLAINT AGAINST WSDOT AND                                            7141 Cleanwater Drive SW
      PAULA J. HAMMOND                                                             PO BOX 40113
      (NO. C09-1032 RSM )                                                    Olympia, WA 98504-0113
                                                                    (360) 753-6126 Facsimile: (360) 586-6847
